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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                                                   18-CR-0339-01 (PAC)
                        -v-
                                                                           ORDER
 JAMAL SIMON,

                                       Defendant.


Paul A. Crotty, United States District Judge:

       On January 30, 2020, the defendant was sentenced principally to a term of imprisonment

of 115 months.

       On May 3, 2024, the defendant filed a motion requesting that this court consider a

sentence reduction pursuant to Amendment 821 to the Sentencing Guideline amendment which

went into effect on November 1, 2023 and applies retroactively. The United States Probation

Department has issued a report indicating that the defendant is not eligible for a sentence

reduction.

       The Court has considered the record in this case, and the submissions on this motion of

the Defendant’s motion and the Probation Department’s Supplement Report.

       It is hereby ORDERED that the defendant is ineligible for this reduction because the

Defendant failed to meet the criteria set forth in Amendment 821 of the Sentencing Guidelines,

and therefore this motion is denied. SO ORDERED.


                                                     __________________________________
                                                     Paul A. Crotty, U.S.D.J.

Dated: May 8, 2024
       New York, New York
